Case 4:21-cv-00033-ALM Document 1-21 Filed 01/14/21 Page 1 of 2 PageID #: 342




EXHIBIT T
Case 4:21-cv-00033-ALM Document 1-21 Filed 01/14/21 Page 2 of 2 PageID #: 343




November 30, 2020

Dear Dr. Jackson,

I am writing to share with you the recommendations of the panel charged with reviewing the 12th
volume of the Journal of Schenkerian Studies.

Specifically, the panel was charged with the following: (1) identify the Journal of Schenkerian Studies
standard conception and production criteria and practices; (2) identify the criteria and practices the
journal used in past volumes; (3) determine the criteria that were applied and practices used in the
production of volume 12; (4) determine whether the criteria and practices for volume 12 were
consistent or inconsistent with those for past volumes; and (5) determine whether the standards of best
practice in scholarly publication were observed in the conception and production of volume 12.
The panel has produced a report with findings, see attached report, that there are opportunities to
improve the journal’s production processes. I am requesting you, as the Director of the Center for
Schenkerian Studies, to develop a plan to address the recommendations by December 18th and submit
the plan to Chair Benjamin Brand and Dean John Richmond for review and approval.

Thank you for participating in this review process. I look forward to seeing the Journal continuing its role
in providing an important forum for the discussion of scholarly ideas related to Schenkerian studies. I
believe by improving the processes of production, as outlined by the panel, the Journal will be
strengthened.

Sincerely,




Jennifer Cowley, PhD

Provost and Vice President for Academic Affairs



cc:

Benjamin Brand, Chair, Division of Music History, Theory, and Ethnomusicology

John Richmond, Dean, College of Music




                                                                                         JACKSON000271
